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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                               FORT WAYNE DIVISION

 United Natural Foods, Inc.,                    )
 SUPERVALU INC., and their affiliates           )
 in interest,                                   )
                                                )
                Plaintiffs,                     )
                                                )
 v.                                             )
                                                )
 Teamsters Local 414, Teamsters Local           )
 120, Teamsters Local 662, and all others       )
 conspiring, acting in concert, or              )
 otherwise participating with them or           )
 acting in their aid or behalf,                 )
                                                )
                Defendants.
                                                )
                                                )
                                                )
                                                )
                                                )

                                         COMPLAINT

       Plaintiffs, by their attorneys, Littler Mendelson, P.C., as and for their Complaint allege as

follows:

                                            PARTIES

       1.     United Natural Foods, Inc. (hereinafter “UNFI”) is a Delaware corporation with its

principal place of business and corporate headquarters located at 313 Iron Horse Way, Providence,

Rhode Island, 02908.

       2.     SUPERVALU INC. (hereinafter “SVU”) is a Delaware corporation with its

principal place of business and corporate headquarters located at 7075 Flying Cloud Drive, Eden

Prairie, Minnesota, 55344.

       3.     During relevant times, UNFI, SVU, and their affiliates in interest (hereinafter

“Plaintiffs”) have been engaged in various operations and business activities at or related to
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warehouse distribution centers that, among other things, store and deliver an array of fresh, frozen,

and dry food and non-food products for grocery stores.

       4.      Plaintiffs are “employers” within the meaning of 29 U.S.C. § 152(2) and engaged

in “commerce” or “an industry affecting commerce” within the meaning of 29 U.S.C. §§ 152(6)

and (7).

       5.      Teamsters Local 414 (hereinafter “Local 414”), Teamsters Local 120 (hereinafter

“Local 120”), and Teamsters Local 662 (hereinafter “Local 662”), collectively referred to herein

as the “Unions” or “Defendants”, are “labor organizations” within the meaning of 29 U.S.C.

§ 152(5). The Unions are organizations in which employees participate and which exist for the

purpose, in whole or in part, of dealing with employers concerning grievances, labor disputes,

wages, rates of pay, hours of employment, or other conditions of work.

       6.      Local 414 maintains its principal office at 2644 Cass Street, Fort Wayne, Indiana,

46808. Local 120 maintains its principal office at 9422 Ulysses Street NE, Suite 120, Blaine,

Minnesota, 55434. Local 662 maintains an office and place of business at 1546 Main Street, Green

Bay, Wisconsin, 54302.

                                 JURISDICTION AND VENUE

       7.      This is an action for damages and other relief arising out of work stoppages,

picketing, and other interferences with business and operations in violation of contracts between

an employer and labor organizations representing employees in an industry affecting commerce,

as defined in Section 301 of the Labor Management Relations Act of 1947, 29 U.S.C. § 185, et

seq. (“Section 301”).

       8.      This Court has jurisdiction and venue is proper in this District pursuant to 28 U.S.C.

§§ 1391(b) and (c) and 29 U.S.C. §§ 185(a) and (c), because Local 414 maintains its principal

office at 2644 Cass Street, Fort Wayne, Indiana, 46808, and because its duly authorized officers




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or agents are engaged in representing or acting for employee members in this District, and because

material events giving rise to this suit occurred in this District.

        9.      Plaintiffs further allege, based on limited discovery and with the expectation that

evidentiary support will be obtained after a reasonable opportunity for further discovery, that

venue is proper in this District as to Local 120 and Local 662 because these Unions’ duly

authorized officers or agents acted in concert with Local 414, were engaged in representing or

acting for employee members in this District concerning the events at issue in this Complaint, and

because material events giving rise to this suit occurred in this District. The Court has personal

jurisdiction over Defendants Local 120 and Local 662 because those Defendants have sufficient

minimum contacts with the State of Indiana, including contacts in furtherance of the labor dispute

and alleged breaches set forth herein.

        10.     In addition, this Court has jurisdiction over the claims asserted in this Complaint

that arise under state law because those claims are so related to the claims within the original

jurisdiction of this Court that they form part of the same case or controversy under Article III of

the United States Constitution. 28 U.S.C. § 1367(a).

                             FACTS COMMON TO ALL CLAIMS

              THE FORT WAYNE COLLECTIVE BARGAINING AGREEMENT

        11.     Kim Springer is now, and at all times mentioned herein has been, President of Local

414, authorized to act and acting on its behalf. George Gerdes is now, and at all times mentioned

herein has been, Secretary-Treasurer of Local 414, authorized to act and acting on its behalf.

        12.     During relevant times, Plaintiffs engaged in various operations and business

activities at or related to warehouse distribution facilities located at 4815 Executive Boulevard,

5020 Investment Drive, and 5025 Executive Boulevard in Fort Wayne, Indiana (hereinafter the

“Fort Wayne DC”).




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         13.    During relevant times, SVU and Local 414 were parties to a collective bargaining

agreement that applied to employees represented by Local 414 at the Fort Wayne DC (hereinafter

the “Fort Wayne CBA”).

         14.    The Fort Wayne CBA had an effective date of June 15, 2017 through September

14, 2019, which was subject to further extension in accordance with its Article 35. A true and

correct copy of the Fort Wayne CBA is attached hereto as Exhibit A.

         15.    Article 11 of the Fort Wayne CBA (the “Union Cooperation” clause) required Local

414 to cooperate in maintaining and improving safe, efficient, and productive business operations.

See Exhibit A at Sections 11:01-11:03.

         16.    Article 5 of the Fort Wayne CBA (the “No Strike” clause) prohibited Local 414

and Fort Wayne DC employees from engaging in a “strike, or any other interference with the

operation of” business during the life of the Fort Wayne CBA absent a refusal by the other party

to “abide by the decision of the arbitrator as provided in this Agreement.” See Exhibit A at Section

5:01. The express purpose of this provision, among others, was to assure “uninterrupted service”

to customers. See id.

         17.    Under Article 5 of the Fort Wayne CBA, if employees engaged in “a work stoppage,

slowdown, walkout, or cessation of work alleged to be in violation of” the Fort Wayne CBA, Local

414 was required to “immediately make every effort to persuade the employees to commence the

full performance of their duties” and “immediately inform the employees that the work stoppage

and/or picket line is unauthorized and in violation of” the Fort Wayne CBA. See Exhibit A at

Section 5:02.

         18.    Article 15 of the Fort Wayne CBA (the “Stewards” clause) further provided that

Local 414’s stewards had “no authority to take strike action or to take any other actions interrupting

[the] business, except as authorized by an official action” of Local 414. See Exhibit A at Section

15:03.


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       19.       Article 35 of the Fort Wayne CBA (the “Termination of Agreement” clause) set

forth procedures that had to be followed in order for a party to terminate the Fort Wayne CBA.

See Exhibit A at Article 35.

       20.       Article 35 required that one party provide the other party “[w]ritten notice of

termination or desired modification” which must be given “at least sixty (60) days prior to the

expiration date.” See Exhibit A at Section 35:01. If timely notice was not given, the Fort Wayne

CBA “automatically renewed from year to year thereafter.” See id. If timely notice was given,

the party giving the notice was required, among other things, to “meet and confer with the other

party for the purpose of negotiating a new contract” and to “[c]ontinue in full force and effect,

without resorting to strike or lockout, all the terms and conditions of” the Fort Wayne CBA “for a

period of sixty (60) days after such notice is given or until the expiration date of” the Fort Wayne

CBA, “whichever occurs later.” See Exhibit A at Section 35:02.

       21.       Under Article 35 of the Fort Wayne CBA, if “the process of bargaining in good

faith” did not result in a new contract being reached by the date the Fort Wayne CBA “legally

terminates,” Section 35:03 set forth the parties’ “duties and obligations” when there was no

immediate strike at the time that the CBA reaches its “normal expiration date.” See Exhibit A at

Section 35:03.

       22.       Specifically, the parties to the Fort Wayne CBA were required to “continue to

bargain and negotiate in good faith . . . until either a complete agreement and understanding is

reached or until either or both parties conclude that it is not probable that further negotiations will

result in agreement.” See Exhibit A at Article 35. During this period of contractually-required

“good faith” bargaining, “[a]ll of the terms and provisions” of the Fort Wayne CBA are “continued

in full force and effect and extended from the termination date” of the Fort Wayne CBA until “such

time as the parties either enter into a new agreement” or “terminate further negotiations in the

manner above mentioned.” See Exhibit A at Sections 35:03(1) and (2).


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          23.   “All of the terms and provisions” of the Fort Wayne CBA include the No-Strike

commitments set forth in Article 5 and other provisions of the Fort Wayne CBA.

          24.   Under Article 35 of the Fort Wayne CBA, in the event Local 414 conducted a strike

upon reaching “the normal expiration date,” the duties and obligations set forth in Article 35,

Sections 35:03(1) and (2) did not apply. See Exhibit A at Section 35:03(3).

                THE HOPKINS COLLECTIVE BARGAINING AGREEMENT

          25.   Tom Erickson is now, and at all times mentioned herein has been, President of

Local 120, authorized to act and acting on its behalf. Bill Wedebrand is now, and at all times

mentioned herein has been, Secretary-Treasurer of Local 120, authorized to act and acting on its

behalf. Troy Gustafson is now, and at all times mentioned herein has been, a Business Agent of

Local 120, authorized to act and acting on its behalf. Thomas Reardon is now, and at all times

mentioned herein has been, a Business Agent of Local 120, authorized to act and acting on its

behalf.

          26.   During relevant times, Plaintiffs engaged in various operations and business

activities at or related to a warehouse distribution center located at 101 Jefferson Avenue South in

Hopkins, Minnesota (hereinafter the “Hopkins DC”).

          27.   During relevant times, SVU and Local 120 have been parties to a collective

bargaining agreement that applies to employees who are represented by Local 120 at the Hopkins

DC (hereinafter the “Hopkins CBA”).

          28.   The Hopkins CBA has effective dates of June 1, 2018 through May 31, 2022 and

was in effect during relevant times. A true and correct copy of the Hopkins CBA is attached hereto

as Exhibit B.

          29.   Article 25 of the Hopkins CBA (the “Hopkins Union Cooperation” clause) requires

Local 120 to cooperate in maintaining and improving safe, efficient, and productive business

operations. See Exhibit B at Sections 25:01, 25:02, 25:03, and 25:04.


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       30.     Article 17 of the Hopkins CBA (the “Hopkins No Strike” clause) prohibits Local

120 and Hopkins DC employees from engaging in “a strike or any other interference with the

operation of” the business during the life of the CBA. See Exhibit B at Section 17:01. The express

purpose of this provision, among others, is to assure “uninterrupted service” to customers. See id.

       31.     Article 17 of the Hopkins CBA prohibits Local 120 from authorizing, directing,

requiring, causing, encouraging, and/or condoning any “strike or any other interference with the

operation of the business during the life of [the] Agreement.” See id. In the event that employees

engage in a “strike, slowdown or walkout” and/or “cessation of work,” Local 120 is required to

“undertake every reasonable means to induce such employees to return to the job.” See Exhibit B

at Section 17:02.

       32.     Under Article 27 of the Hopkins CBA (the “Hopkins Picket Line” clause),

employees may refuse to “enter upon any property involved in a primary labor dispute” or “go

through or work behind any primary picket line.” See Exhibit B at Article 27.

             THE GREEN BAY COLLECTIVE BARGAINING AGREEMENT

       33.     John Kaiser was President of Local 662 and at all times mentioned herein

authorized to act and acting on its behalf. Rick Skutak was Secretary-Treasurer of Local 662 and

at all times mentioned herein authorized to act and acting on its behalf. Tom Strickland was

Trustee of Local 662 and at all times mentioned herein authorized to act and acting on its behalf.

Craig Vandeheuvel was Chief Steward for Local 662 at the Green Bay DC and at all times

mentioned herein authorized to act and acting on its behalf.

       34.     During relevant times, Plaintiffs engaged in various operations and business

activities at or related to a warehouse distribution center located at 451 Joannes Avenue in Green

Bay, Wisconsin (hereinafter the “Green Bay DC”).




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          35.     During relevant times, SVU and Local 662 have been parties to a collective

bargaining agreement that applies to employees who are represented by Local 662 at the Green

Bay DC (hereinafter the “Green Bay CBA”).

          36.     The Green Bay CBA has effective dates of June 1, 2019 through May 31, 2025 and

was in effect during relevant times. A true and correct copy of the Green Bay CBA is attached

hereto as Exhibit C.

          37.     A stated purpose of the Green Bay CBA is “preventing strikes and lockouts” and

“to facilitate a peaceful adjustment of all grievances and disputes that may arise from time to time”

under its terms. See Exhibit C at p. 3.

          38.     Article 8 of the Green Bay CBA (the “Green Bay No Strike” clause) states that

“there shall be no strike, work stoppage or slowdown authorized, sanctioned, approved or engaged

in by the Union against the Employer, except for failure of either party to submit to the Arbitration

Procedure or failure of either party to abide by the decision of the Arbitration Board.” See Exhibit

C at Article 8.

          39.     In addition to prohibiting a “strike,” Article 9 of the Green Bay CBA (the “Green

Bay Unauthorized Activity” clause) further prohibits “any other interference with the operation of

the business during the life of this Agreement, except for refusal of the other party to abide by the

decision of the Arbitrator, as provided in this Agreement.” See Exhibit C at Section 9:01. The

express purpose of this provision, among others, is to assure “uninterrupted service” to customers.

See id.

          40.     In the event of an “unauthorized work stoppage or picket line, etc. in violation of”

the Green Bay CBA, Local 662 is required to “make every effort to persuade the employees to

commence the full performance of their duties” and “immediately inform the employees that the

work stoppage and/or picket line is unauthorized and in violation of” the Green Bay CBA. See

Exhibit C at Section 9:04.


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       41.     Under Article 10 of the Green Bay CBA (the “Green Bay Protection of Rights”

clause), employees may refuse to “enter upon any property involved in a primary labor dispute”

or “go through or work behind any primary picket line.” See Exhibit C at Section 10:01.

                  THE 2019 FORT WAYNE CONTRACT NEGOTIATIONS

       42.     Negotiations for a successor agreement to the Fort Wayne CBA commenced on

August 6, 2019.

       43.     During relevant times, Labor Relations Director Tracy McDonald was the Fort

Wayne DC’s chief spokesperson for the Fort Wayne DC bargaining committee during

negotiations. Kim Springer served as Local 414’s chief spokesperson at most bargaining sessions.

George Gerdes attended other bargaining sessions as Local 414’s chief spokesperson.

       44.     Local 414’s initial proposal for a new contract included 41 items, not including

proposals for improvements in wages and benefits Local 414 intended to make after language

issues were resolved.

       45.     The parties also met for negotiations on August 8, 2019, September 3-5, 2019, and

September 11-13, 2019, but did not reach an agreement on a new contract.

       46.     No strike occurred on September 14, 2019, the expiration date of the Fort Wayne

CBA. Instead, the parties continued negotiations, meeting on September 18, 19, and 20, 2019.

       47.     Because there was no strike on September 14, 2019, and the negotiations continued

thereafter, Article 35 of the Fort Wayne CBA required the parties to negotiate in “good faith” until

a “complete agreement and understanding” on a new contract was reached or “until either or both

parties conclude[d] that it [was] not probable that further negotiations [would] result in agreement.”

See Exhibit A at Sections 35:03(1) – (3). Pursuant to Article 35 of the Fort Wayne CBA, all of the

terms and provisions of the Fort Wayne CBA, including the No Strike clause in Article 5, also

“continued in full force and effect and extended” from September 14, 2019 until one or both parties




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either “enter[ed] into a new agreement” or “terminat[ed] further negotiations” in the manner

specified in Article 35. See Exhibit A at Sections 35:03(1) – (3).

       48.     The parties continued their negotiations on September 18, 2019, but did not reach

a new agreement. Tracy McDonald requested Local 414 provide its specific objections to contract

proposals in order to formulate and propose compromise language. The parties met again on

September 19, 2019 and September 20, 2019, but did not reach a new agreement.

       49.     During the September 19-20, 2019 bargaining sessions, Tracy McDonald and/or

another UNFI representative on the Fort Wayne DC bargaining committee stated to Local 414

their interest in making a strong economic offer and finding common ground on proposed contract

language changes in order to make the Fort Wayne DC a more efficient and attractive option for

its customers. McDonald and/or another UNFI representative on the Fort Wayne DC bargaining

committee also requested additional bargaining dates from Local 414, and offered to accommodate

any dates Local 414 was available, including weekends. Local 414, by and through Springer,

Gerdes, and/or its other representatives or agents, refused to provide additional bargaining dates

and stated that all proposals Local 414 objected to had to be dropped as a condition of any further

meetings.

       50.     At or near the end of the September 20, 2019 bargaining session, Gerdes stated to

the Fort Wayne DC bargaining committee that Local 414 would not schedule additional dates until

”you get your shit off the table first” or words to that effect. Gerdes abruptly ended the bargaining

session without providing additional dates for bargaining as had been requested.

       51.     On or about November 5, 2019, Erickson notified UNFI that he was in contact with

Gerdes, that he had convinced Gerdes to consider meeting with the Fort Wayne DC bargaining

committee again, but Local 414 remained unwilling to meet until all of the proposals Local 414

previously objected to were dropped.




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       52.     After September 14, 2019, no party terminated the negotiations or indicated that it

was not probable that further negotiations would result in an agreement as required by Article 35.

Therefore, the No Strike commitments in Article 5 and other provisions of the Fort Wayne CBA

“continued in full force and effect and extended” pursuant to Article 35.

                   LOCAL 414 INITIATES A STRIKE IN FORT WAYNE

       53.     On December 12, 2019, Local 414 initiated a strike and established a picket line at

the Fort Wayne DC. Local 414 did not terminate the negotiations pursuant to Article 35 of the

Fort Wayne CBA prior to going on strike. Local 414’s actions violated the terms and provisions

of the Fort Wayne CBA, including Article 5 and other provisions.

       54.     Local 414, by and through its agents, engaged in illegal and hazardous picket line

activities, including, but not limited to: (a) supporting and encouraging picketers to block entry to

and exit from the Fort Wayne DC property; (b) striking vehicles with their picket signs; (c) aiming

blindingly bright lights at the eyes of drivers of vehicles seeking to enter or exit the Fort Wayne

DC property at night; (d) following employees home; and (e) threatening employees and their

families with physical and sexual violence.

       55.     By correspondence dated December 12, 2019, Local 414 was notified that its strike

was illegal, breached the Fort Wayne CBA, and would cause irreparable harm to the business and

the job security of its employees. Local 414 was asked to confirm in writing the steps it was taking

to immediately end the strike and notified that Fort Wayne DC representatives were willing and

available to bargain over all open contract issues.

       56.     By letter dated December 13, 2019, Local 414 denied that Local 414’s strike was

illegal and stated that Local 414 was willing to continue negotiations starting in January 2020.

       57.     In an effort to end the illegal strike, by letter dated December 14, 2019, it was

proposed to Local 414 that the parties meet starting on December 17, 2019 and every day

thereafter, including weekends, if progress was being made.


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       58.     By letter dated December 16, 2019, Local 414 stated that it had been willing to

continue negotiations after the September 20, 2019 meeting, and offered to continue negotiations

on December 19 and 20, 2019. At no time did the parties either “enter into a new agreement” or

“terminate further negotiations” in the manner specified in Article 35.

       59.     The actions of Local 414 described above violated the Fort Wayne CBA and

operated to extinguish any obligations that SVU might otherwise have had under the Fort Wayne

CBA.

       60.     The actions by Local 414 and by Gerdes, Springer and other agents of Local 414

caused damages to Plaintiffs including, but not limited to, the inability to receive and ship products,

fulfill customer orders, make and receive deliveries, and otherwise operate the Hopkins DC.

   LOCAL 414 EXTENDS ITS PICKET LINE TO HOPKINS AND GREEN BAY DCS

       61.     On December 17, 2019, Local 414 members began picketing the Hopkins and

Green Bay DCs. Said picketing was authorized by Local 414. The purpose of the picketing was

to work in concert with, induce, and/or cause Locals 120 and 662 to go on strike as part of Local

414’s unlawful strike in violation of the Fort Wayne CBA.

                LOCAL 120 INITIATES A STRIKE AT THE HOPKINS DC

       62.     On December 17, 2019, the Hopkins CBA (including the provisions of Article 17

and 25) was in effect and no primary dispute existed at the Hopkins DC.

       63.     Commencing on December 17, 2019, Erickson, Wedebrand, Gustafson, Local 120

Steward Thomas Reardon, and other agents of Local 120 authorized, directed, required, caused,

encouraged, and/or condoned a strike and/or other interference with the operation of the Hopkins

DC in violation of the Hopkins CBA.

       64.     Hopkins DC employees began walking off the job at around 10:25 a.m. on

December 20, 2019. On information and belief, Reardon and other agents of Local 120 directed

employees to stop working. On information and belief, Reardon and other agents of Local 120


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communicated to employees they could not continue to work and would be kicked out of the Union

if they crossed the picket line.

       65.     Employees assembled in a Hopkins DC parking lot where they were met and

addressed by Local 120 leadership, including Erickson, Gustafson, and Wedebrand. Erickson had

parked his truck in such a way as to partially block access to the main building entrance.

       66.     Hopkins DC General Manager James Van Dusen went out to the parking lot and

requested that Erickson move his truck out of concern that emergency vehicles would be impeded

from accessing the entrance, if necessary. Erickson refused, hurled profanities at Van Dusen, and

demanded access to the Hopkins DC while Wedebrand appeared to use his cell phone to capture

video. Van Dusen told Erickson that if the employees were on strike, they needed to leave the

property. Erickson stated “we have the right to go on strike” and “we have a right to honor the

picket line” or words to that effect.

       67.     Commencing on December 17, 2019, as a result of the actions described in the

above paragraphs, Hopkins DC employees engaged in a strike, slowdown, walkout, cessation of

work, and interference with the operation of the Hopkins DC. Among other things, those

employees who were at work walked out and those who were scheduled to work did not report for

work as scheduled.

       68.     By letter dated December 17, 2019, Local 120 was notified that its actions violated

the Hopkins CBA and would cause irreparable harm to the business. Local 120 was notified that

its obligations under the Hopkins CBA required it to immediately notify employees that Local 120

did not authorize the strike and that Local 120 was directing employees to return to work. Local

120 refused and failed to take any such steps.

        69.    Commencing on December 17, 2019 and continuing throughout the period of the

stoppage of work described above, Erickson, Gustafson, Wedebrand, and other agents of Local




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120 failed and refused to undertake every reasonable means to induce Hopkins DC employees to

return to their jobs.

        70.     The actions by Local 120 and by Erickson, Gustafson, Wedebrand, and other agents

of Local 120 caused damages to Plaintiffs including, but not limited to, the inability to receive and

ship products, fulfill customer orders, make and receive deliveries, and otherwise operate the

Hopkins DC.

               LOCAL 662 INITIATES A STRIKE AT THE GREEN BAY DC

        71.     On December 17, 2019, the Green Bay CBA (including the provisions of Articles

8 and 9) was in effect and no primary dispute existed at the Green Bay DC.

        72.     Commencing on December 17, 2019, Kaiser, Skutak, Strickland, Local 662 Chief

Steward Craig Vandeheuvel, and other agents of Local 662 authorized, directed, required, caused,

encouraged, and/or condoned a strike and/or other interference with the operation of the Green

Bay DC.

        73.     Green Bay DC General Manager Renee Spear was informed that Green Bay DC

employees had received a text message from Vandeheuvel instructing them to either stop working

or not report to work.

        74.     Strickland was notified that the Green Bay CBA required Local 662 to immediately

notify employees that Local 662 did not authorize the strike and that Local 662 was directing

employees to return to work. Local 662 refused and failed to take any such steps.

        75.     Strickland informed Spear that he was aware of the picketing and interference with

the operation of the Green Bay DC. Strickland also informed Spear that he was unwilling to

instruct Green Bay DC employees that their actions were not authorized, violated the No Strike

No Lockout clause of the Green Bay CBA, and that they should immediately return to work. In

response to Spear’s request that Strickland inform the Green Bay DC employees that the strike and




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interference were unauthorized and violated the CBA, Strickland said, “You need to call the

company and tell them to get their heads out of their asses.”

       76.     Commencing on December 17, 2019, as a result of the actions described in the

above paragraphs, Green Bay DC employees engaged in a strike, slowdown, walkout, cessation of

work, and interference with the operation of the Green Bay DC. Among other things, those

employees who were at work walked out and those who were scheduled to work did not report for

work as scheduled.

       77.     By letter dated December 17, 2019, Strickland was notified that Local 662’s actions

violated the Green Bay CBA and would cause irreparable harm to the business. Despite the

notification, Local 662 again refused to comply with its obligations under the Green Bay CBA to

immediately take steps to notify employees that Local 662 did not authorize the strike and direct

them to return to work.

       78.     The actions by Local 662 and by Kaiser, Skutak, Strickland, Local 662 Chief

Steward Craig Vandeheuvel, and other agents of Local 662 caused damages to Plaintiffs including,

but not limited to, the inability to receive and ship products, fulfill customer orders, make and

receive deliveries, and otherwise operate the Green Bay DC.

                LOCAL 414 ENDS ITS FIRST STRIKE IN FORT WAYNE

       79.     On December 18, 2019, Local 414 ended its strike at the Fort Wayne DC and ended

its picketing at the Hopkins and Green Bay DCs. After Local 414 withdrew its pickets, Local 120

and Local 662 ended their strikes and Hopkins and Green Bay employees began returning to work.

             LOCAL 414 INITIATES A SECOND STRIKE IN FORT WAYNE

       80.     On July 23, 2020, Local 414 initiated a second strike and established a picket line

at the Fort Wayne DC. Local 414 did not terminate the negotiations pursuant to Article 35 of the

Fort Wayne CBA prior to going on strike. Local 414’s actions violated the no-strike commitments




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expressed in provisions of the Fort Wayne CBA that remained in effect on and after September

14, 2019, including, but not limited to, Articles 5, 11, 14, 15, and 35.

        81.      During the second strike, in support of Local 414’s illegal actions, agents of Local

120 went to Indiana and, among other things, participated in a parade of vehicles, including Local

120’s 18-wheel truck, conducted in a manner designed to block ingress/egress at the Fort Wayne

DC property.

        82.      Local 414 and Local 120, by and through their agents, engaged in illegal and

hazardous picket line activities, including, but not limited to: (a) supporting and encouraging

picketers to block entry to and exit from the Fort Wayne DC property, and direct ethnic, sexual,

and homophobic slurs toward persons seeking ingress and egress; (b) striking vehicles with their

picket signs; (c) striking a security contractor with their vehicles; and (d) trespassing on the Fort

Wayne DC property.

        83.      The actions by Local 414, Local 120, and their agents caused damages to Plaintiffs

including, but not limited to, the inability to receive and ship products, fulfill customer orders,

make and receive deliveries, and otherwise conduct operations in amounts to be established at the

time of trial.

                       UNFI’S AND SVU’S AFFILIATES IN INTEREST

        84.      During relevant times, Plaintiffs’ affiliates in interest included without limitation:

(a) SUPERVALU Wholesale Operations, Inc.; (b) Hopkins Operations Company, LLC and its

subsidiaries, Hopkins Distribution Company, LLC and Hopkins Equipment Company, Inc.; and

(c) SUPERVALU Holdings Operations Company, LLC and its subsidiaries, SUPERVALU

Holdings Equipment Company, Inc. and SUPERVALU Holdings, Inc.

        85.      SUPERVALU Wholesale Operations, Inc. (hereinafter “SWO”) is a Delaware

corporation with its principal place of business and corporate headquarters located at 7075 Flying

Cloud Drive, Eden Prairie, Minnesota, 55344. Hopkins Distribution Company, LLC, Hopkins


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Equipment Company, Inc., SUPERVALU Holdings Equipment Company, Inc. and SUPERVALU

Holdings, Inc. were merged with and into SWO effective August 1, 2020. By virtue of that merger,

SWO became and is the current employer of the employees covered by the Fort Wayne, Hopkins,

and Green Bay CBAs.

       86.     SWO is a wholly-owned subsidiary of SUPERVALU Wholesale, Inc., which is a

wholly-owned subsidiary of SUPERVALU Wholesale Holdings, Inc., which is a wholly-owned

subsidiary of SVU, which is a wholly-owned subsidiary of UNFI.

       87.     By their actions set forth herein, Defendants’ actions caused damages to Plaintiffs

including, but not limited to, the inability to receive and ship products, fulfill customer orders,

make and receive deliveries, and otherwise operate the Fort Wayne, Green Bay, and Hopkins DCs.

                                FIRST CLAIM FOR RELIEF
                            Breach of Contract – Fort Wayne CBA

       88.     Plaintiffs incorporate and reallege paragraphs 1 through 87 above.

       89.     The Fort Wayne CBA was a valid and enforceable contract that was in effect during

relevant times herein.

       90.     Local 414 received the benefit of the contractual duties and obligations owed to it

under the Fort Wayne CBA.

       91.     Section 35:03(1) of the Fort Wayne CBA required Local 414 to continue bargaining

and negotiating in good faith after September 14, 2019, without initiating any strike or taking any

other actions prohibited by Article 5, Article 35, and other terms and provisions of the Fort Wayne

CBA, until one or both parties “enter[ed] into a new agreement” or “terminate[d] further

negotiations” in the manner specified in Article 35.

       92.     Local 414 did not continue negotiations in good faith, nor did the parties to the Fort

Wayne CBA “enter into a new agreement” or “terminate further negotiations” in the manner set

forth in Section 35:03(1) of the Fort Wayne CBA prior to Local 414’s actions in: (a) initiating a



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strike in Fort Wayne commencing on December 12, 2019; (b) extending pickets to the Hopkins

DC and Green Bay DC commencing on December 17, 2019; and (c) initiating a strike in Fort

Wayne commencing on and after July 23, 2020.

        93.     Local 414, in the manner described above, violated the no-strike commitments

expressed in provisions of the Fort Wayne CBA that remained in effect on and after September

14, 2019, including, but not limited to, Articles 5, 11, 14, 15, and 35.

        94.     As a direct and proximate result of Local 414’s breach, Plaintiffs suffered

substantial irreparable harm (including a loss of goodwill, reputation, and customer relationships)

and damages including, but not limited to, the inability to receive and ship products, fulfill

customer orders, make and receive deliveries, and otherwise conduct operations in amounts to be

established at the time of trial.

                                 SECOND CLAIM FOR RELIEF
                                Breach of Contract – Hopkins CBA

        95.     Plaintiffs incorporate and reallege paragraphs 1 through 87 above.

        96.     The Hopkins CBA is a valid and enforceable contract that was in effect during

relevant times herein.

        97.     Local 120 received the benefit of the contractual duties and obligations owed to it

under the Hopkins CBA.

        98.     Local 120, in the manner described above, violated the Hopkins CBA, including,

but not limited to, Articles 17 and 27.

        99.     As a direct and proximate result of Local 120’s breach, Plaintiffs suffered

substantial irreparable harm (including a loss of goodwill, reputation, and customer relationships)

and damages including, but not limited to, the inability to receive and ship products, fulfill

customer orders, make and receive deliveries, and otherwise conduct operations in amounts to be

established at the time of trial.



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                                 THIRD CLAIM FOR RELIEF
                              Breach of Contract – Green Bay CBA

        100.    Plaintiffs incorporate and reallege paragraphs 1 through 87 above.

        101.    The Green Bay CBA is a valid and enforceable contract that was in effect during

relevant times herein.

        102.    Local 662 received the benefit of the contractual duties and obligations owed to it

under the Green Bay CBA.

        103.    Local 662, in the manner described above, violated the Green Bay CBA, including,

but not limited to, Articles 8 and 9.

        104.    As a direct and proximate result of Local 662’s breach, Plaintiffs suffered

substantial irreparable harm (including a loss of goodwill, reputation, and customer relationships)

and damages including, but not limited to, the inability to receive and ship products, fulfill

customer orders, make and receive deliveries, and otherwise conduct operations in an amount to

be established at the time of trial.

                                FOURTH CLAIM FOR RELIEF
                               Tortious Interference with Contract

        105.    Plaintiffs incorporate and reallege paragraphs 1 through 87 above.

        106.    The Hopkins and Green Bay CBAs are valid and enforceable contracts that were in

effect during relevant times herein.

        107.    During relevant times herein, Local 414 was aware of the Hopkins and Green Bay

CBAs and their terms.

        108.    Local 414 intentionally induced Local 120 and Hopkins employees to breach the

Hopkins CBA, including, but not limited to, Articles 17, 25, and 27, in the manner described above.

        109.    Local 414 intentionally induced Locals 662 and Green Bay employees to breach

the Green Bay CBA, including, but not limited to, Articles 8 and 9, in the manner described above.




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       110.    As a direct and proximate result of Local 414’s tortious conduct, Plaintiffs suffered

substantial irreparable harm (including a loss of goodwill, reputation, and customer relationships)

and damages in an amount to be established at the time of trial.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for relief as follows:

       1)      That the Court enter an Order prohibiting Defendants from breaching their CBAs
               in the manner set forth above;

       2)      That Plaintiffs be awarded damages in an amount to be determined at trial;

       3)      That Plaintiffs be awarded their costs and disbursements herein;

       4)      That Plaintiffs be awarded their reasonable attorneys’ fees; and

       5)      That Plaintiffs be awarded such other and further relief as the Court may deem just
               and proper.


 Dated: January 15, 2021                             Respectfully submitted,

                                                     United Natural Foods, Inc., SUPERVALU
                                                     INC., and their affiliates in interest

                                                     By: /s/ Brian L. Mosby
                                                         One of Their Attorneys

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